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                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT


 LOKI BRANDS LLC; NORTH FORK No. 24-3120
 DISTRIBUTION, INC. d/b/a
 CYCLING FROG; CANTRIP, INC.;
 ALPHA OMEGA COLLECTIS LLC
 d/b/a APOLLO SCIENCES;
 ALTERNATIVE HEALTH
 DISTRIBUTION LLC d/b/a
 CANNAAID; and M&A LL
 HOLDINGS LLC d/b/a LEGAL LEAF
 NEW JERSEY,
               Plaintiff-Appellants,

 v.

 MATTHEW J. PLATKIN, DIANNA
 HOUENOU and EDWARD D.
 WENGRYN,
              Defendant-
 Appellees.


       DEFENDANT-APPELLEES’ MOTION TO HOLD APPEAL IN
                        ABEYANCE

      This appeal involves Public Law 2024, c.73 (“the New Jersey Hemp Act
Amendments” or “NJHAA”), which regulates New Jersey’s hemp industry, and
aims to protect residents from the health and safety risks presented by certain hemp-
derived intoxicating products. By Order and Opinion dated October 10, 2024, the
district court severed, and enjoined the State from enforcing, certain portions of the
NJHAA that it determined violate the dormant Commerce Clause and the express
preemption provision of the federal Agriculture Improvement Act of 2018, while
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upholding all remaining portions of the law. Plaintiff-Appellants appealed that
decision on two grounds: (1) that the remaining portions of the NJHAA are
unconstitutionally vague, which the district court declined to consider, and (2) that
the court should not have severed the unconstitutional provisions of the NJHAA, but
rather invalidated the entire law.
      Since the issuance of that decision, the parties have been engaging in ongoing
discussions about potential developments that may resolve this appeal. Therefore,
Defendants respectfully move to hold this appeal in abeyance, with status reports on
the progress toward resolution due at 60-day intervals. Counsel for Appellants kindly
consents to this request. For these reasons, Defendants respectfully request that the
court grant its motion to hold this appeal in abeyance while the parties continue to
discuss ways to amicably resolve these issues.
                                       Respectfully submitted,

Dated: January 9, 2025
                                       MATTHEW J. PLATKIN
                                       Attorney General of New Jersey

                                       JEREMY M. FEIGENBAUM
                                       Solicitor General

                                       /s/ Jacqueline R. D’Alessandro
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure Rules 27(d)(2)(a), 32(a)(5),

and 32(a)(6), the undersigned certifies that this brief complies with the applicable

typeface, type-style, and type-volume limitations. This brief was prepared using a

proportionally spaced type (Times New Roman, 14 point). Exclusive of the portions

exempted by Federal Rule of Appellate Procedure 32(f), this brief contains 218

words. This certificate was prepared in reliance on the word-count function of the

word-processing system used to prepare this brief.

      This brief complies with L.A.R. 31.1(c) in that prior to being electronically

submitted, it was scanned by the following virus-detection software and found to be

free from computer viruses:

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            McAfee Threat Prevention Version


Dated: January 9, 2025                /s/ Jacqueline R. D’Alessandro
                                      Jacqueline R. D’Alessandro
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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 9, 2025, I electronically filed the foregoing

with the Clerk of the Court for the U.S. Court of Appeals for the Third Circuit by

using the appellate CM/ECF system.

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                                       /s/ Jacqueline R. D’Alessandro
                                       Jacqueline R. D’Alessandro
